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In The United States District Court For Southern District of New York
_________________________________________________
   Annamarie Trombetta,
                                                Civil Action No. 18-cv-0993-RA-HBP
        Plaintiff,

         vs.                                          PLAINTIFF’S REPLY
 Norb Novocin, Marie Novocin,
                                                 TO ESTATE AUCTIONS INC. ’S
     Estate Auctions Inc.
                                            DEFENDANTS’ COUNTER STATEMENTS
          and
                                               MATERIAL FACTS            IN   DISPUTE
   WorthPoint Corporation

        Defendants
______________________________________________


   PLAINTIFF’S REPLY TO ESTATE AUCTIONS INC.’S RESPONSE

           TO PLAINTIFF’S STATEMENT OF FACTS RULE 56.1

                     DEFENDANT’S     COUNTER STATEMENTS OF

                        MATERIAL FACTS          IN   DISPUTE




     Due to the libelous false statement disputed by EAI in their responses to Plaintiff’s

Statements of Material Facts, Plaintiff begins with EAI Responses to No. 15 thru No. 17.

PLAINTIFF”S STATEMENT OF FACTS NO. 15 —- ON PAGES 2 TO 5

PLAINTIFF”S STATEMENT OF FACTS NO. 16 —-- ON PAGES 6 TO 8

PLAINTIFF”S STATEMENT OF FACTS NO. 17 ——ON PAGES 9 TO 12
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                             PRELIMINARY STATEMENT

         Pro Se Plaintiff, Annamarie Trombetta, on April 17, 2023 filed seventeen Statements

of Undisputed Material Facts Rule 56.1 noted in ECF 433. On May 30, 2023 Defendant’s

attorney Anderson Duff representing Estate Auction Inc. and Norb and Marie Novocin filed

Defendants responses in ECF 477-1 which have false insinuations that are highly libelous and

exemplify another assault against Plaintiff’s character.

                                       ARGUMENT

          Plaintiff brings to the Court’s attention   Plaintiff’s three Statements of Facts

pertaining to the EAI photos depictions of the front and back signatures allegedly on the “1972

Oil Painting Man With Red Umbrella”. Plaintiff ’s undisputed statement was disputed by EAI.

First, Plaintiff takes issue with Defendants’ repetitive response statements in No. 15, 16 and

17, which falsely asserts and insinuate a statement that again is incriminating to my character.

PLAINTIFF”S STATEMENT OF FACTS NO. 15

No. 15. There is no dispute that the signature A. Trombetta ,on the front of the 1972 Original Oil
Painting entitled Man With Red is not the Plaintiff’s signature.

EAI Defendants' Response: Disputed. The record does not demonstrate with evidence aside
from Plaintiff's testimony that this statement is true, and Plaintiff has demonstrated that
she is willing to make misrepresentations while under oath.

Plaintiff finds the libelous statements by Defendants “Plaintiff has demonstrated that she is

willing to make misrepresentations while under oath” to be spurious and devoid of any

evidence and is consistent with Defendants other public, falsely written statements against

Plaintiff. Defendants first false public statement that initiated Plaintiff’s lawsuit, is the

caption by EAI in their self created auction ad, on WorthPoint’s webpage incorrectly claiming

the “1972 Original Oil Painting Man With Red Umbrella was Signed Annamarie Trombetta

by New York Listed Artist “ Plaintiff’s name and designated location was in Estate Auctions
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Inc’s public, written false statement however, EAI’s ad never featured a photo signature

“Annamarie Trombetta”, rather the photo in the Estate Auctions Inc’s advertisement was a

signature depicting “A. Trombetta”. Norb Novocin admitted, on page 38 of his Sept. 21,

2022 deposition, that even he found the alleged “ A. Trombetta signature on the front of the

canvas to be “garbled and kinda hard to read” evidenced on page 38 in EXHIBIT #1A . The

second admission by Mr. Novocin admitting he could not discern the A. Trombetta signature

is on Page 52 in EXHIBIT #1 B . WorthPoint’s attorneys asked Mr. Novocin “ When you

looked at the back of the stretcher and you saw the words Annamarie Trombetta that we

discussed earlier, did it help you interpret what the signatures may have read ? Norb Novocin

replied “ It certainly interpreted the last name. I couldn't do anything for that first initial.”

On Page 47 from Norb Novocin’s Sept. 21st deposition in EXHBIT #1 C, WorthPoint’s

attorneys further questioned Mr. Novocin about the allegedly 12 photos in the EAI ad

for the 1972 oil painting and about the signature. WorthPoint’s attorneys asked “Sir, how do

you know that?” Norb Novocin replied “Because if there’s anything we have seen over

and over is this signature. It came off of Worthpoint. It's the only signature or only picture that

survived on Worthpoint. Why, I don't know. That's how we know. It just was there.”        On pages

31- 32, and pages 83 to 86, of Mr. Novocin deposition, in EXHIBIT #1 D, he was questioned

if he saw any “Tear” in the painting written in the WorthPoint webpage statement “It is quite

large being approx. 48 1/2" tall and 17 1/2" wide. We are calling it shabby chic condition as it

has a tear in the canvas, about 5/8” long just to the left of the man's knees,” Novocin viewed

the photo he produced as evidence for the 1972 oil painting. “Mr. Novocin, was asked by

WorthPoint’s attorneys “Can you see the tear in this image? Mr. Novocin replies “ No”

WorthPoint attorney asked Mr Novocin “ To your knowledge, was this painting ever restored? “

Norb Novocin replied “ No, it was not.”      Below are two the photos from the EAI auction ad.
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PLAINTIFF”S STATEMENT OF MATERIAL FACTS NO. 15

15[a]. There is no dispute that the signature A. Trombetta ,on the front of the 1972 Original Oil
Painting entiled Man With Red is not the Plaintiff’s signature. (Pl. Declaration ¶¶ 34 Ex. 47)

EAI Defendants' Response: Disputed. The record does not demonstrate with evidence aside
from Plaintiff's testimony that this statement is true, and Plaintiff has demonstrated that
she is willing to make misrepresentations while under oath.

         Plaintiff brings to the Court’s attention on April 8, 2022 Plaintiff produced from my

1972 notebook three examples of my “authentic 1972 childhood signatures” EXHIBIT #2 A
My evidence inserted below., was produced to both Defendants over a year and a half ago.
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       Defendants Estate Auction Inc and Norb and Marie Novocin ’s response by attorney

Anderson Duff, willfully and defiantly denied and disputed Plaintiff’s 1972 childhood

signature. Mr Duff stated “ The record does not demonstrate with evidence aside from

Plaintiff's testimony that this statement is true” .   Plaintiff’s record is in a tangible form of

evidence devoid of any testimony. In No. 15 Plaintiff refuted Defendants “A. Trombetta

photo signature” and I affirmed it is not mine or by my hand. Since 2017, Plaintiff phoned and

informed Marie Novocin on Jan. 10, 2017, the signature and 1972 oil painting was not by the

Plaintiff. In turn, Norb Novocin phoned the Plaintiff during which time Norb Novocin

admitted in 2017 and stated “ We didn’t even state it was by you. We JUST stated it was signed

Annamarie Trombetta.” It is an undisputed fact that Estate Auction Inc photo signature does not

depict the name Annamarie Trombetta. I affirm EAI’s “A. Trombetta” photo is not my signature.

                                                                        Inserted at the left is

                                                                        an excerpt from page 3

                                                                        of the January 10, 2017

                                                                        phone call transcript

                                                                        between Norb Novcin

                                                                        and Plaintiff, Annamarie

                                                                        Trombetta. Plaintiff in

                                                                        2017 informed Norb

                                                                        Novocin his auction ad

                                                                        and painting constitutes

                                                                        Fraud. EXHIBIT #2 A

                                                                        Page 3 Novocin

                                                                        Phone Transcript.
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 PLAINTIFF”S STATEMENT OF MATERIAL FACTS NO. 16 :

         Plaintiff brings to the Court’s attention the absurd assertion by EAI Defendant.s

Mr. Duff’s egregious and spurious response once again is denying factual evidence from Estate

Auctions Inc own production and verifies Plaintiff’s name was misspelled in three ways.

 No16. There is no dispute that the signature in red pencil on back stretcher bar of the 1972
Original Oil Painting entitled Man With Red is not the Plaintiff’s signature.( Declaration ¶¶ 3
of Trombetta Ex. 45 46)

EAI Defendants' Response: Disputed. The record does not demonstrate with evidence aside
from Plaintiff's testimony that this statement is true, and Plaintiff has demonstrated that
she is willing to make misrepresentations while under oath.

        Plaintiff undisputed statement of facts has nothing to do with Plaintiff’s testimony and

therefore Mr. Duff’s response should be stricken and proven to be contemptuously fraudulent.

This is an attempt to created conflict when his own client’s production of the red pencil

signature, allegedly on the back of the wooden stretcher of the 1972 oil painting , has misspelled

Plaintiff’s name. Plaintiff points out in the EAI auction advertisement Plaintiff’s full name was

used and spelled as one word, with no space in between the name Anna and Marie. Secondly

the EAI auction advertisement has seven consistent spellings of Plaintiff’s first name as

“Annamarie” ending in the letter “E”, yet the evidence of the red pencil photo produced by

E A I misspelled Plaintiff ’s name which ends in the letter “A”.    In addition, Plaintiff

does not separate my two name ANNA from MARIE nor do I capitalize the M in Marie, nor do

I end my name in the letter “A”. My first name is NOT ANNA MARIA as it is documented in

EAI’s evidence in the photo produced by Defendant Norb and Marie Novocin. After the

completion of discovery in Dec. 2022, Plaintiff’s added a claim for Fraud (Rule 9) and Tort
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due to conversion of personal property, and intentional infliction of emotional distress. and loss

of enjoyment of life. In New York, a tort is defined as any unlawful act that causes harm to

another person, their property, reputation etc. Plaintiff filed my Second Amended Complaint

on December 27, 2022 in ECF 348 s due to the Novocins’ false, public assertion that the

“1972 Oil Painting Man With Red Umbrella” was SIGNED Annamarie Trombetta and falsely

photo featured a signature devoid of my full name. EAI depicted the photo “A. Trombetta.

Both signature produced by Defendants, red and black, front and back, prove the 1972 oil

painting is not signed “Annamarie Trombetta”. I also note each signature looks completely

different from the other.

            Plaintiff adds to the subject of the red pencil signature a significant alteration made

by attorney Anderson Duff in his EAI Rule 56.1 Statement of Facts in ECF 421, SMF No 11,

filed on April 17, 2023. Mr. Duff in No. 11 made a noteworthy omission. and wrote “The

wooden frame appearing on the back of thePainting featured the statement "Annamarie

Trombetta, painted 1972.” (Duff Decl. ¶ 3, Ex. A at 35:16-24, Ex. 2.) In ECF 421 Mr. Duff ’s

statement of fact, No 11, literally changed and omitted the space between Anna and Maria

and changed ANNA MARIA to a spelling as one word, Annmarie. He also changed in SMF

No. 11 ending with letter “A” as in the EAI photo evidenced to the letter “E”. Another

notable alteration and significant change by Mr. Duff is the omission of the EAI phrase

“GIFTED 1977”. Mr. Duff insidious chicanery has been willfully implemented in his

statement of material facts SMF No. 11 which differs from the photo on the wooden stretcher

bar. These documented changed facts exemplifies another attempt to manipulate and alter

evidence, which he uninhibitedly filed in Federal Court. Below is Mr. Duff’s Statement of

Material Facts No. 11 from Case 1:18-cv-00993-RA-SLC in ECF 42 iled 04/17/23 page 2 of 10.
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In the WorthPoint’s webpage. please note four correct spelling of the name “Annamarie” as one

wordending in the letter “E” and the phrase “Gifted 1977” missing from Mr. Duff’s SMF No. 11




Below are inserted photos allegedly on the back stretcher of the 1972 oil painting titled by Norb
Novocin as “Man With Red Umbrella” which has misspelled my name and states “Gifted 1977”.
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PLAINTIFF”S STATEMENT OF FACTS NO. 17

   The last of notable Disputed responses by Defendants is in Plaintiff’s No. 17 SMF.

17, There is no dispute that the Plaintiff is not the artist who painted the 1972 Original Oil
Painting Man With Red Declaration ¶¶ 32 Trombetta Ex. 43 44 Exhibit #2.

EAI Defendants' Response: Disputed. The record does not demonstrate with evidence
aside from Plaintiff's testimony that this statement is true, and Plaintiff has demonstrated
that she is willing to make misrepresentations while under oath.

     Plaintiff brings to the Court’s attention an excerpt from by copyrighted biography that was

in Estate Auctions Inc. auction ad, “gleaned” from my website. This statement affirms Plaintiff

age when I began painting in oils in the “Eighties”. The last excerpt in the EAI ad is below:

  “ I began my formal training at The Brooklyn Museum School of Art while I was in high
school .The exposure to various forms of art inspired me to expand my horizons and in the early
Eighties I traveled on a summer tour to Europe. The tour comprised of six countries; Germany,
Austria, France, Italy, Switzerland and England. Viewing so many different cities and cultures in
a concentrated period of time …




In the EAI auction ad above,    the last visible sentence was cut off with continuation dots.

I also note on Page 12 of ECF 422 Defendants admitted :” Norb spent a half an hour or

less creating EAI's eBay listing for the Painting and did not read the biography”. Mr.

Novocin admitted he did not read Plaintiff’s biography. EAI ’s red pencil signatures misspelled
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Plaintiff’s name in addition Plaintiff declared since 2017 to Defendants Marie and Norb

Novocin, yet Mr. Duff’s response to Plaintiff ’s SMF No. 17 was to DISPUTE and state The

record does not demonstrate with evidence aside from Plaintiff testimony. Mr. Duff’s

response is proven as a false statement by the red signature and the text in the EAI auction

ad that states and included my affirmation “ I began my formal training when I was

in high school.” Defendants documented “A. Trombetta “ photo signature and EAI false

written statement that the 1972 oil painting was signed “Annamarie Trombetta New York Listed

Artist” was publicly distributed long before litigation. Presently, these false statements are

conjoined with EAI’s production of the red pencil signatures as evidence . This signature is

is unlike the Plaintiff childhood 1972 signature which spells my name correctly. Plaintiff’s has

proven the red pencil handwriting is not my signature. Plaintiff has suffered a severe loss of

time due to Mr. Novoicn’s NOT reading my biography. Defendants willful denials alleging

they did nothing wrong while refuting I am not the artist after I submitted my 1972 signage to

Defendants has caused me to lose eight years of my time, causing irreplaceable damage.

        Mr. Duff’s renunciation of the verifed facts set forth by the Defendants’ signatures and

that of the Plaintiff, demonstrates Defendants are repeatedly choosing to ignore the truth and

are willfully rejecting liability. Plaintiff affirms to the Court, it is both Defendants defiant

reluctance conjoined with the willful intent to perpetuate false statements against the Plaintiff

that is the foundation and purpose for my lawsuit. My pursuit to take legal actions was always

to request Declaratory Relief and to impose legal enforcements by requesting Permanent

Injunctive Relief to legally prevent and prohibit both Estate Auctions Inc and WorthPoint Corp

from ever using my name in any conceivable, way to include attributions to works of art.

The severe and extreme loss amount of time Plaintiff has suffered and the enormous efforts to

litigate this case to prohibit both Defendants from using my name is incalcuable and inequitable

in terms of monetary losses. I note that my injuries have increased and my mental stability has
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been compromised. I have no time to earn any income for the past three years while my cost of

living has increased. All of my problems and loss professional pursuits and loss of enjoyment of

my are due to the antagonistic and inept individuals who chose to target Plaintiff.

      Once again, in May/ June of 2015, my biography was listed on askART. In June and July

2015 Plaintiff signed onto eBay for the first time and put a bid on an item. Norb Novocin sells

items on eBay and has been is a paid member of askART since 2001. He is a member of

WorthPoint Corp since May 2014. It is not difficult to deduce Mr. Novocin saw my one with

eBay and /or concurrently saw my bio listed on askART in 2015. In all probability, Defendants

back dated the year of any alleged 2012 painting intentionally, knowing that eBay only keeps

sales records for no more than three to six month. Plaintiff in Dec. 201 checked with eBay to

make sure there was no records for the EAI 2012 sale.The two inserts below are from the eBay

phone transcript from Dec. 2012 ,

EXHIBIT #2 B Pages 8 eBay phone transcript and Plaintiff’s Evid. 000144 000158.




BELOW Page 9 eBay phone transcript Ebay agent Jamie post was not on eBay’s website.
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Ebay’s agent named Jamie also confirmed the false 1972 oil painting post was not on

eBay’s website and gave me WorthPoint’s contact phone number. Plaintiff produced the eBay

phone call to Defendants on April 11, 2022, over three weeks before Estate Auctions Inc

produced the first truncated, cut off, eBay sales receipt on April 27, 2022. On November 16,

2022, EAI Defendants produce an uncut version of an eBay receipt with a missing bold Yellow

Bar which was in the April 27, 2022 eBay receipt. Once again there are four 2012 eBay receipts.

      From August 2015, onwards I have been subjected to consistent misinformation and lies

by both Defendants,. Below are the other disputed facts by EAI Defendants and Anderson Duff.
__________________________________________________________________

PLAINTIFF”S STATEMENT OF FACTS NO. 15 —- ON PAGES 2 TO 5

PLAINTIFF”S STATEMENT OF FACTS NO. 16 —-- ON PAGES 6 TO 8

PLAINTIFF”S STATEMENT OF FACTS NO. 17 ——ON PAGES 9 TO 12
_____________________________________________________________________________

PLAINTIFF”S STATEMENT OF FACTS NO. 3

3. Defendants Estate Auctions Inc and Norb and Marie Novocin the latter two of which own or
owned EAI and will be referred to as the “Individual Defendants” herein, copied and exploited
Annamarie Trombetta’s personal, self authored original biography in advertising and marketing
materials on eBay Auctions accounts without the knowledge or consent of Plaintiff and without
Plaintiff’s Copyright identifying notice “All work on this site are © AnnamarieTrombetta. All
rights reserved” Plaintiff as the author and owner of the Subject Plaintiff’s Copyrighted
Personal Biography The copyright infringement was used for commercial and financial gain and
to sell a damaged oil painting dated 1972, The unauthorized infringement was used to falsely
attribute Plaintiff/Artist Annamarie Trombetta as the artist that created/painting this large oil
painting which was torn and sold for $181.50 which depreciates the my current Plaintiff current
market value.

EAI Defendants' Response: Disputed. Nothing in the record demonstrates that the
sale of the painting at issue depreciated the market value for Plaintiff's work.
Plaintiff’s Response: EAI Defendants and attorney Anderson Duff have failed to review and
acknowledge PlaintiffEvidence produced in discovery on or around April 2022 thru November
2022. Plaintiff has bate stamped evidence submitted to all Defendants on or before April 8, 2022
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which are records of verification that the Estate Auctions Inc auction advertisement on
WorthPoint’s webpage did indeed depreciate, caused losses and professional embarrassment
which depreciated the market value of s artwork, my prices and my artistic career.

 Plaintiff’s Exhibits which substantiate Plaintiff’s claim are in an email from January 2015 from
Susan Goldstein articulating “ I am in love with The Wisteria painting, how much is it?” in
Plaintiff Evidence 000072 and the loss of this sale of artwork in Plaintiff’s Evidence 000073 . A
quote from Susan Goldstein’s letter states “ My aunt’s assistant did point out that the description
on WorthPoint internet site reference the artist Annamarie Trombetta’s website…..The reference
to the website of Annamarie Trombetta on the WorthPoint site is the main reason why my aunt
did not purchase the painting”

EXHIBIT #3 Plaintiff Evid. 000072 Jan. 2015 email from Susan (Sudha) Goldstein
EXHIBIT #4 Plaintiff Evid. 000073 Notarized Letter Susan Goldstein-Lost sale of artwork

Additional records depreciating the market value for Plaintiff’s work is the email/letter by
Gallery Tour Guide and Artist Scott Goodwillie which includes his statement
“For those of us in the "Professional Field of Art": particularly in the year 2015, anyone selling
artwork particularly on eBay or any other online platform is considered an amateur artist_ The
Internet listing, once discovered by the galleries, sabotaged the interest in Ms. Trombetta's work_
I can attest to this from personal experience that the internet link ended all possibilities of
gallery representation.”

EXHIBIT #5 Plaintiff Evid. 000074 Scott Goodwillie Letter/Email loss of interested
gallerists in Plaintiff’sartwork due to the EAI auction ad on WorthPoint’s website.

Another record of evidence is in the email letter by the Director of the Italian American
Museum, Dr. Joseph Scelsa. A quote from Dr. Scelsa’s April 2022 letter states “ I have been
informed that someone has attempted to use her name on works not of her creation. This in no
way should be seen as a reflection on her works but unfortunately it could devalue them. I
sincerely hope her name can be removed from any works not created by her. If not, it may
jeopardize our ability to show her work in the future.”

Dr. Scelsa also made this comment due to Plaintiff’s listing of my solo exhibit at the Italian
American Museum which was unethically joined to the 1972 Oil Painting listing.see in
EXHIBIT #7.

EXHIBIT #6 Plaintiff Evid. 000075 Dr. Joseph Scelsa Letter/Email Fraudulent ad and oil
painting Jeopardizing Plaintiff’s future chances to exhibit at Italian American Museum.

EXHIBIT #7 Plaintiff’s Evid. 000052 Plaintiff’s Evid. 000053 Plaintiff’s Evid. 000056
Listing of 1972 Original Oil Painting Man With Red Umbrella Signed with Plaintiff’s solo
- Italian American Museum Exhibit and website link italianamerican museumexhibition
On Site Plein air.html-Annamarie Trombetta
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PLAINTIFF”S STATEMENT OF FACTS NO. 4
4. Defendant EAI Norb and Marie Novocin first exploited the Plaintiff Personal Biography as
part of an online display and alleged sale on eBay of an oil painting in 2012. Plaintiff and her
colleagues found the eBay ad in August 2015.One month earlier, for the first time Plaintiff signed
into eBay’s website. On or around July 2015. A few weeks after Plaintiff signed onto eBay’s
website, listed under my name was a false 1972, incorrect attribution with my-self authored
biography that was truncated and preceded with Estate Auctions Inc.’s company description
Plaintiff’s biography was altered mid-sentence with three dots added inferring the sentient and
biography continued. Plaintiff’s CMI from my website was removed.

EAI Defendants' Response: Disputed. Nothing in the record demonstrates that Plaintiff's
CMI was removed from Plaintiff's biography. Defendant Norb Novocin did not edit the
biography of Plaintiff copied from askArt. (EAI Defendants' Statement of Material Facts ¶
18, ECF No. 421 at 3.)

Plaintiff’s Response: EAI Defendants and attorney Anderson Duff have failed to review and
acknowledge Plaintiff Evidence produced in discovery on or around April 2022 thru November
2022. Plaintiff reminds the Court that Plaintiff’s has filed my copyright management information
which is on all nine pages I submitted. A close up version of my CMI is annexed in EXHIBIT
#8 000295

EXHBIT #8 000295 SEE ECF 503 SEE EXHIBIT #2 Copyright Deposit Pages in
Plaintff’s Evid. 000119, 000120, 0000121, 000122, 000123, 000124, 000125 and Plaintiff’s
Evid. 000126.

______________________________________________________________________________


PLAINTIFF”S STATEMENT OF FACTS NO. 5

5. The EAI eBay 1972 oil painting ad with Plaintiff copyright biography falsely claims Plaintiff
is the artist, which I am not. The EAI eBay 1972 oil painting ad falsely stated EAI took my
biography from askART. The oil painting was allegedly sold in 2012. Plaintiff gave my consent to
have my biography listed on askART in 2015 to Bob Bahr author. Me Novocin falsely stated I am
the artist who painted the 1972 painting and I did NOT. Novocin that he took my Biography for
askART which Plaintiff’s proof can refute a second false claim by Norb Novocin. Since
November 2001 he has been a member of askART.

EAI Defendants' Response: Disputed. The record demonstrates that Defendant Norb
Novocin obtained Plaintiff's biography from askArt and did not edit the same. (EAI
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Defendants' Statement of Material Facts ¶ 18, ECF No. 421 at 3.) Defendant Norb Novocin
has never visited Plaintiff's website. Id. ¶ 17. Defendant Norb Novocin obtained all of the
information about Plaintiff for EAI's eBay listing for the painting at issue from askArt. Id.
¶ 16.

Plaintiff’s Response: EAI Defendants and attorney Anderson Duff have failed to review and
acknowledge Plaintiff Evidence produced in discovery on or around April 2022. Plaintiff has
repeatedly submitted evidence that my askART biography was listed on askART in 2015. not
2012. Wayback Machine is a separate non -party entity and documented the date of September
22, 2015 and recorded only ONE capture in its’ online public information displayed on its
website. Plaintiff once again files Plaintiff. Evid. 000149, 0000150 and 000151 to refute the
continuous false disputed statements made by Estate Auctions Inc and the Novocins.

EXHIBIT #9 Plaintiff. Evid. 000149, 0000150 and 000151
______________________________________________________________________________


PLAINTIFF”S STATEMENT OF FACTS NO. 6

6. There is no dispute that Defendants have created infringing derivative works from the
Plaintiff’s Subject Self Authored Biography.

EAI Defendants' Response: Disputed. The record demonstrates that Defendant Norb
Novocin obtained Plaintiff's biography from askArt and did not edit the same. (EAI
Defendants' Statement of Material Facts ¶ 18, ECF No. 421 at 3.) Defendant Norb Novocin
has never visited Plaintiff's website. Id. ¶ 17. Defendant Norb Novocin obtained all of the
information about Plaintiff for EAI's eBay listing for the painting at issue from askArt. Id.
¶ 16.

Plaintiff’s Response: EAI Defendants and attorney Anderson Duff have failed to review and
acknowledge Plaintiff Evidence produced in discovery on or around April 2022 thru November
2022. Plaintiff has repeatedly submitted evidence that my askART biography was listed on
askART in 2015 not in 2012. Wayback Machine with is a separate non -party entity documented
the date of September 22, 2015 and recorded only ONE capture in its’ online public information
displayed on its now website. Plaintiff once again files Plaintiff. Evid. 000149, 0000150 and
000151 to refute the continuous false disputed statements made by Estate Auctions Inc and The
Novocins.

SEE EXHIBIT #9 Plaintiff. Evid. 000149, 0000150 and 000151
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PLAINTIFF”S STATEMENT OF FACTS NO. 8
8. There is no dispute that WorthPoint Corporation Defendants have failed to produce the
requested Customer Support Ticket Entries with No. Ticket No. 57565 RE Fraudulent artwork
dated Feb. 1, 2016 and the first request dated Jan. 22, 2026 for Ticket No. 56607 REWorthPoint
Price Guide Membership subscription and Plaintiff’s request to remove false 1972 post.

EAI Defendants' Response: Disputed. The EAI Defendants do not have sufficient
evidence to agree that this statement is undisputed and therefore dispute the same.

Plaintiff’s Response: EAI Defendants and attorney Anderson Duff have failed to review and
acknowledge Plaintiff Evidence produced in discovery on or around April 2022 thru November
2022. Plaintiff has produced in discovery to both Defendants, Plaintiff’s dated emails with the
Ticket No. 57565 RE Fraudulent artwork dated Feb. 1, 2016 and the first request dated Jan. 22,
2026 for Ticket No. 56607 and has annexed these date documents once again with this filing.

EXHIBIT #10 Plaintiff Evid. 000022 -Plaintiff Evid. 000023-Plaintiff Evid. 000024
              Plaintiff Evid. 000026 -Plaintiff Evid. 000028 Plaintiff Evid. 0000228 B
______________________________________________________________________________


PLAINTIFF”S STATEMENT OF FACTS NO. 9

9. After Plaintiff’s initial notice of infringement in 2016, WorthPoint took no steps to ensure that
it wouldn’t happen again.

EAI Defendants' Response: Disputed. The EAI Defendants do not have sufficient evidence
to agree that this statement is undisputed and therefore dispute the same.

Plaintiff’s Response: EAI Defendants and attorney Anderson Duff have failed to review and
acknowledge PlaintiffEvidence produced in discovery on or around April 2022 thru November
2022. WorthPoint Corp has produced evidence in WP 000132-000133 and 000134 which proves
the URL for the 1972 Oil Painting post was on the internet. Aside from this Plaintiff has filed
dated Google Listing Print outs and WorthPoint’s sent emails to Plaintiff evidence In EXHBIT
#11
EXHIBIT #11 WorthPoint Corp produced evidence in WP 000132-000133 and 000134
                Plaintiff Evid. 000058 -Plaintiff Evid. 000059 - Plaintiff Evid. 000060
                Plaintiff Evid. 000062A Plaintiff Evid. 000063 Plaintiff Evid. 000064
                Plaintiff Evid. 000065 Plaintiff Evid. 000066 Plaintiff Evid. 000067
                Plaintiff Evid. 000068
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PLAINTIFF”S STATEMENT OF FACTS NO. 10

10. There is no dispute that Plaintiff first contacted WorthPoint on Jan. 22, 2016 and spoke to
Anita Brooks by phone and sent emails to WorthPoint.

EAI Defendants' Response: Disputed. The EAI Defendants do not have sufficient evidence
to agree that this statement is undisputed and therefore dispute the same.

Plaintiff’s Response: EAI Defendants and attorney Anderson Duff have failed to review and
acknowledge Plaintiff Evidence produced in discovery on or around April 2022 thru November
2022. Plaintiff in January 2016 first filled out on January 14, 2016 WorthPoint’s Item Review
Request in Plaintiff’s Evil. 000285 and 000286 in EXHIBIT #12 . Aside from this SEE
EXHIBIT #10 Plaintiff’s Evil. 0000021 Plaintiff’s Evil. 0000023 Plaintiff’s Evil. 000025
Plaintiff’s Evil. 0000027

EXHIBIT #12 Plaintiff’s Evil. 000285 and 000286 and Plaintiff’s Evil. 0000021
            Plaintiff’s Evil. 000023 Plaintiff’s Evil. 000025 Plaintiff’s Evil. 000027

EXHIBIT #13 Phone Transcript of Plaintiff and WorthPoint employee Anita Brooks

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PLAINTIFF”S STATEMENT OF FACTS NO. 11

11. There is no dispute that Plaintiff contacted WorthPoint on Feb. 3, 2016 and spoke to Gregory
Watkins by phone and sent emails to WorthPoint.

EAI Defendants' Response: Disputed. The EAI Defendants do not have sufficient evidence
to agree that this statement is undisputed and therefore dispute the same.

Plaintiff’s Response: EAI Defendants and attorney Anderson Duff have failed to review and
acknowledge Plaintiff Evidence produced in discovery on or around April 2022 Plaintiff
produce my phone call transcript of the Feb. 3, 2016 and spoke to Gregory Watkins which is
annexed in EXHIBIT #14

EXHIBIT #14 Phone Transcript of Plaintiff and WorthPoint employee Greg Watkins
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PLAINTIFF”S STATEMENT OF FACTS NO. 12

12.There is no dispute that Will Seippel WorthPoint Corp. published and evidenced in
a responded to Plaintiff first email on February 20, 2016 and wrote “we will remove the item.

EAI Defendants' Response: Disputed. The EAI Defendants do not have sufficient evidence
to agree that this statement is undisputed and therefore dispute the same.

Plaintiff’s Response: In this instance EAI Defendants and attorney Anderson Duff have failed
to review and acknowledge Plaintiff Evidence as well as WorthPoint Corp’s evidence. Annexes
in EXHIBIT # 15 is WorthPoint’s bate stamped evidence in WP000062 also WP00096 and
WP000135 which are the same document bate stamped three different numbers. In addition to
this P laintiff Evid. has bate stamped the same Will Seippel Feb. 20, 2016 email to Plaintiff
 in Plaintiff Evid. 000034 , the bottom of Plaintiff Evid. 000039 and Plaintiff Evid. 000040.

EXHIBIT # 15 WorthPoint’s bate stamped evidence in WP000062 WP000096 and
              WP000135.

EXHIBIT #16 Plaintiff Evid. bate stamped Will Seippel Feb. 20, 2016 email to Plaintiff
             in Plaintiff Evid. 000034 Plaintiff Evid. 000039 and Plaintiff Evid. 000040.
______________________________________________________________________________


PLAINTIFF”S STATEMENT OF FACTS NO. 13

13. There is no dispute that Second Defendants WorthPoint Corp. published and evidenced in the
January 4, 2017 emails in WP000132, WP000133, WP000134 the 1972 oil painting URL on
WorthPoint’s website.

EAI Defendants' Response: Disputed. The EAI Defendants do not have sufficient evidence
to agree that this statement is undisputed and therefore dispute the same.

Plaintiff’s Response: In this instance Plaintiff chose to list a Statement of Materil facts that has
nothing to do with Plaintiff evidence rather it is WorthPoint’s evidence. Plaintiff notes to the
Court that EAI Defendants and attorney Anderson Duff have willfully failed acknowledge
WorthPoint’s Evidence which demonstrates “Bad Faith” and a deliberate intent to create
conflicts by refuting even WorthPoint Corp’s evidence. Annexed in EXHIBIT #17.

EXHIBIT #17 WorthPoint Evid. Jan. 4, 2017 emails WP000132, WP000133, WP000134
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PLAINTIFF”S STATEMENT OF FACTS NO. 14

14. The Infringing eBay ad was an important part to come to their site and purchase the
WorthPoint Membership of Defendants’ online business, and both companies benefited on the
back of its marketing efforts, which took place solely online.

EAI Defendants' Response: To the extent EAI Defendants understand this statement of
fact, it is disputed. The EAI Defendants do not have sufficient evidence to agree that this
statement is undisputed and therefore dispute the same.

Plaintiff’s Response: Plaintiff brings to the Courts attention the content of the Estate Auctions
Inc auction ad begins with a description and introduction of the EAI online eBay business. on
WorthPoint’s webpage. Plaintiff also notes to the Court, in order to see the Prices of the sold
items WorthPoint requires that the customer sign up for WorthPoint’s monthly membership
which is $19.99 per month. In order to sign onto WorthPoint;s membership the customer must
provided and enter a credit card number. Plaintiff does NOT benefit at all from any item that
is sold on any online company nor is it considered professional to have one’s artwork sold on
eBay. Usually, this type of selling platform is for amateur artist who sell their work very
cheaply. Moreover, the 1972 oil painting is considered a “secondary market” painting which
does NOT entitle an artist to any royalty rites who reside in the state of New York. Annexed
is the WorthPoint Membership receipt documenting the $19.99 fee . Annexed is

EXHIBITS # 18 A Plaintiff Evid. 000872 Plaintif Yahoo WorthPoint Membership fee
EXHIBITS # 18 B Plaintiff Evid. 000158 -000159 Text from 1972 oil painting ad on
                WorthPoint webpage with Estate Auction Inc description.

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PLAINTIFF”S STATEMENT OF FACTS NO. 15

15. WorthPoint advertises sale because it “want[s] people to come to their site and purchase the
WorthPoint Membership.

EAI Defendants' Response: Disputed. The EAI Defendants do not have sufficient evidence
to agree that this statement is undisputed and therefore dispute the same.

EXHIBITS # 18 A Plaintiff Evid. 000872 Plaintif Yahoo WorthPoint Membership fee
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                                          CONCLUSION

       For the foregoing reasons, Pro Se Plaintiff respectfully requests the Court to take notice

of Defendants most recent libelous statements against the Plaintiff. In addition, many of

Plaintiff’s seventeen Statement of Material Facts were disputed by Defendant despite

conclusive evidence produced months ago. Plaintiff also notes in No. 13, the evidence disputed

by Estate Auction Inc was against WorthPoint evidence not the Plaintiff’s evidence. The

relentless denial by Defendants opposing clear cut facts and evidence exemplifies Defendants

attempt to further belabor the Plaintiff and elongate this case. It is obvious that Estate Auctions

Inc 1972 oil painting two signatures , one that is misspelled and the other hard to read, proves

Plaintiff did not paint the oil painting. Plaintiff is requesting the Court to grant all Plaintiff’s

claims to include Fraud, Intentional Infliction of Emotional Distress and Tort, added and

described in my SAC in ECF 348, filed on Dec. 27, 2022. As duly noted, Defendants

responses in 477-1 filed on May 30, 2023, demonstrate further false assertions by Estate

Auctions Inc. For over six years Defendants have willfully denied Plaintiff did not paint

the 1972 oil painting. Plaintiff has proven I am not the artist and therefore requests all relief

as per Plaintiff’s claims , in all my amended complaints be granted as the Court, in its discretion

may deem just and proper.

Dated: New York, New York June 14, 2023
                                                      Respectfully Submitted by

Annamarie Trombetta                                ——Electronic Signature ——
175 East 96th Street (12 R)
New York. New York 10128                         /s/ Annamarie Trombetta June 14, 2023
Pro Se Plaintiff                              _________________________________________

                                                   Annamarie Trombetta Pro Se Plaintiff
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                                  EXHIBITS
PLAINTIFF”S STATEMENT OF FACTS               NO. 15     NO. 16 and   NO. 17

EXHIBIT #1 A Norb Novocin Deposition Sept. 21, 2022 Page 38 A. Trombetta signature is
             “garbled and kinda hard to read”.

EXHIBIT #1 B Norb Novocin Deposition Sept. 21, 2022 Page 52 could not discern first
             initial and Plaintiff’s last name.

EXHBIT #1 C Norb Novocin’s Sept. 21, 2022 Deposition Page 47 “A. Trombetta signature
             photo “ only surviving photos from the alleged 2012 ad. Pl.Evid 000163.
EXHIBIT #1 D Norb Novocin’s Sept. 21, 2022 Deposition Page 31- 32, and pages 83 to 86,
             regarding noted Tear” in the painting and Norb Novocin admission
             there is no visible Tear in his photo entered into discovery or his
             knowledge of any restoration

EXHIBIT #2 A Signatures by EAI and Plaintiff ’s childhood handwriting.
        #2 B Pages 8 and 9 eBay Phone Transcript and Pl. Evid. 000144 and 000158.
        #2 C Norb Novocin Phone Transcript page 3 -signed Annamarie Trombetta

PLAINTIFF”S STATEMENT OF FACTS NO. 3

EXHIBIT #3 Plaintiff Evid. 000072 Jan. 2015 email from Susan (Sudha) Goldstein

EXHIBIT #4 Plaintiff Evid.000073 Notarized Letter Susan Goldstein-Lost sale of artwork

EXHIBIT #5 Plaintiff Evid. 000074 Scott Goodwillie Letter/Email loss of interested
           gallerists in Plaintiff’sartwork due to the EAI auction ad on WorthPoint’s
           website.

EXHIBIT #6 Plaintiff Evid. 000075 Dr. Joseph Scelsa Letter/Email Fraudulent ad and
           oil painting Jeopardizing Plaintiff’s future chances to exhibit at Italian
           American Museum.

EXHIBIT #7 Plaintiff’s Evid. 000052 Plaintiff’s Evid. 000053 Plaintiff’s Evid. 000056
            Listing of 1972 Original Oil Painting Man With Red Umbrella Signed with
            Plaintiff’s solo - Italian American Museum Exhibit and website link
           italianamericanmuseumexhibition On Site Plein air.html—-

PLAINTIFF”S STATEMENT OF FACTS NO. 4

EXHBIT #8 000295 SEE ECF 503 SEE EXHIBIT #2 Copyright Deposit Pages in
Plaintff’s Evid. 000119, 000120, 0000121, 000122, 000123, 000124, 000125 and Plaintiff’s
Evid. 000126.
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PLAINTIFF”S STATEMENT OF FACTS NO. 5 and NO. 6__

EXHIBIT #9 Plaintiff. Evid. 000149, 0000150 and 000151

PLAINTIFF”S STATEMENT OF FACTS NO. 8

EXHIBIT #10 Plaintiff Evid. 000022 -Plaintiff Evid. 000023-Plaintiff Evid. 000024
            Plaintiff Evid. 000026 -Plaintiff Evid. 000028 Plaintiff Evid. 0000228 B

PLAINTIFF”S STATEMENT OF FACTS NO. 9

EXHIBIT #11 Plaintiff   Evid. 000058 -Plaintiff Evid. 000059 - Plaintiff Evid. 000060
            Plaintiff   Evid. 000062A Plaintiff Evid. 000063 Plaintiff Evid. 000064
            Plaintiff   Evid. 000065 Plaintiff Evid. 000066 Plaintiff Evid. 000067
            Plaintiff   Evid. 000068


PLAINTIFF”S STATEMENT OF FACTS NO. 10
EXHIBIT #12 Plaintiff’s Evil. 000285 and 000286 and Plaintiff’s Evil. 0000021
           Plaintiff’s Evil. 000023 Plaintiff’s Evil. 000025 Plaintiff’s Evil. 000027

EXHIBIT #13 Phone Transcript of Plaintiff and WorthPoint employee Anita Brooks

PLAINTIFF”S STATEMENT OF FACTS NO. 11

EXHIBIT #14 Phone Transcript of Plaintiff and WorthPoint employee Greg Watkins

PLAINTIFF”S STATEMENT OF FACTS NO. 12

EXHIBIT # 15 WorthPoint’s bate stamped evidence in WP000062 WP000096 and
              WP000135.
EXHIBIT #16 Plaintiff Evid. bate stamped Will Seippel Feb. 20, 2016 email to Plaintiff
            in Plaintiff Evid. 000034 Plaintiff Evid. 000039 and Plaintiff Evid. 000040.

PLAINTIFF”S STATEMENT OF FACTS NO. 13
EXHIBIT #17 WorthPoint Evid. Jan. 4, 2017 emails WP000132, WP000133, WP000134

PLAINTIFF”S STATEMENT OF FACTS NO. 14 and NO. 15

EXHIBITS # 18 A Plaintiff Evid. 000872 Plaintif Yahoo WorthPoint Membership fee
EXHIBITS # 18 B Plaintiff Evid. 000158 -000159 Text from 1972 oil painting ad on
                WorthPoint webpage with Estate Auction Inc description.
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In The United States District Court For Southern District of New York
_________________________________________________
Annamarie Trombetta,
Plaintiff, Civil Action No. 18-cv-0993-RA-HBP
vs.
Norb Novocin, Marie Novocin,
Estate Auctions Inc.
and
WorthPoint Corporation
Defendants
________________________________________

                         CERTIFICATE OF SERVICE

I certify that on June 14, 2023, a true and correct copy of the foregoing document was served

upon the parties of record via the Court’s CM/ECF system and directly to all attorneys listed

below to include Adam Bialek, Jana Farmer and John Cahill attorneys for WorthPoint

Corporation and attorney Anderson Duff representing Marie and Norb Novocin and Estate

Auctions Inc.

Dated: New York, New York June 14, 2023

                                                    Respectfully Submitted by

Annamarie Trombetta                              ——Electronic Signature ——
175 East 96th Street (12 R)
New York. New York 10128                       /s/ Annamarie Trombetta June 14, 2023
Pro Se Plaintiff                            _________________________________________

                                                 Annamarie Trombetta Pro Se Plaintiff
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